

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-74,799-03






BILLY R. RICHARDSON, Relator


v.


HON. CARTER THOMPSON, JUDGE OF CRIMINAL DISTRICT COURT NO. 5,
Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. F-0175463-PL
			

FROM DALLAS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court. In it, he contends that he filed an application for a writ of
habeas corpus in Criminal District Court No. 5 of Dallas County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court. Relator contends that the
district court entered an order designating issues on April 28, 2011.

	 

	Respondent, the Judge of Criminal District Court No. 5 of Dallas County, shall file a
response with this Court by having the District Clerk submit the record on such habeas corpus
application. In the alternative, Respondent may resolve the issues set out in its order and then have
the District Clerk submit the record on such application. In either case, Respondent's response shall
be submitted within 30 days of the date of this order. This application for leave to file a writ of
mandamus will be held in abeyance until Respondent has submitted his response.


Filed: April 4, 2012

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